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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                 MIAMI DIVISION

                    CASE NO. 14‐20052‐CR‐MARTINEZ/GOODMAN

  UNITED STATES OF AMERICA,

  vs.

  ROGER BERGMAN,

        Defendant.
  ___________________________________/

                       REPORT AND RECOMMENDATIONS ON

           COUNSEL’S CJA VOUCHER REQUEST FOR ATTORNEY’S FEES


         On August 6, 2014, court‐appointed defense counsel Terence Lenamon

  (“Counsel”) submitted voucher application FLS 14 1725‐02 with appended time sheets

  requesting $55,841.85 as final payment for attorney’s fees and costs pursuant to the

  Criminal Justice Act (the “CJA”). Counsel supplied detailed time entries and a

  spreadsheet listing expenses in support of the application.

         On January 30, 2014, Counsel was appointed to represent Defendant Roger

  Bergman (“Bergman”) pursuant to the CJA, 18 U.S.C. § 3006A. [ECF No. 12]. Following

  his appointment, Counsel submitted a proposed litigation budget for his representation

  of Bergman, estimating that the case would cost $265,720.00, with $137,720.00 of that for

  attorney’s fees. [ECF No. 57].
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         Defendant’s trial lasted six days, beginning July 21, 2014 and concluding on July

  28, 2014. Counsel now seeks $55,841.85 in compensation for his representation of

  Bergman. Of that, $55,104.00 is for attorney’s fees. The requested amount exceeds the

  $9,800.00 statutory maximum for attorney’s fees in non‐capital felony cases at the trial

  level under the CJA. Guidelines, Vol. 7A, Chapter 2, § 230.23.20. United States District

  Judge Jose E. Martinez referred the voucher application to the Undersigned for a Report

  and Recommendations as to whether the requested fees are appropriate. [ECF No. 187].

         Having reviewed the voucher and the pertinent portions of the record, the

  Undersigned respectfully recommends that the voucher request be approved in

  accordance with the opinion below.

  I.     CRIMINAL JUSTICE ACT GUIDELINES

         The   United    States   Judicial   Conference   developed   the   Guidelines   for

  Administering the CJA and Related Statutes (the “Guidelines”) to assist courts in

  applying the provisions of the CJA. See In re Burger, 498 U.S. 233, 234 (1991). The CJA

  plan for the Southern District of Florida explicitly states that “[p]ayment of fees and

  expenses shall be made in accordance with the provisions of the United States Judicial

  Conferences guidelines for the administration of the Criminal Justice Act.” See CJA

  Plan, Southern District of Florida.

         The CJA provides that an appointed attorney shall be compensated for time

  expended in court and for time “reasonably expended out of court” at the conclusion of


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  CJA representation. 18 U.S.C. § 3006A(d)(1). The CJA also provides for payment of

  “expenses reasonably incurred.” Id. The district court, as the body empowered to “fix”

  compensation of CJA‐appointed Counsel, has the statutory authority and discretion to

  determine what is a reasonable expense or use of billable time. 18 U.S.C. § 3006A(d)(5);

  U.S. v. Griggs, 240 F.3d 974 (11th Cir. 2001).

         To recommend a fee exceeding the statutory maximum, the district court must

  first certify that the case involves “complex” or “extended” representation. 18 U.S.C. §

  3006A(d)(3). The court may find a case “complex” if the “legal or factual issues . . . are

  unusual, thus requiring more time, skill and effort by the lawyer than would normally

  be required in an average case.” Guidelines, Vol. 7A, Chapter 2, § 230.23.40(b). A case is

  “extended” if “more time is reasonably required for total processing than the average

  case.” Guidelines, Vol. 7A, Chapter 2, § 230.23.40(c). After certifying that the case is

  either “complex” or “extended,” the district court must determine whether the amount

  sought is necessary to provide Counsel with fair compensation.

         Additionally, the Guidelines recommend case budgeting for cases that require

  more than 300 attorney hours or $30,000 in attorney’s fees. Guidelines, Vol. 7A, Chapter

  2, § 230.26.10. In such instances, “counsel should submit a proposed initial litigation

  budget for court approval, subject to modification in light of facts and developments

  that emerge as the case proceeds.” Guidelines, Vol. 7A, Chapter 2, § 230.26.20 (emphasis

  added). The case budgeting provision for capital cases also states that “[c]ase budgets


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  should be re‐evaluated when justified by changed or unexpected circumstances, and

  should be modified by the court where good cause is shown.” Guidelines, Vol. 7A,

  Chapter 6, § 640.20(f). While the Guidelines implicitly endorse the wisdom of modifying

  the budget due to changed circumstances, there is no explicit requirement for

  submitting modified case budgets.

  II.     BACKGROUND

                A. Facts of the Case

          Bergman was charged by Indictment with Conspiracy to Commit Health Care

  Fraud and Wire Fraud (Count 1) and Conspiracy to Make False Statements Relating to

  Health Care Matters (Count 2). [ECF No. 3]. The Indictment also charged two co‐

  defendants as part of an eight year conspiracy to defraud the Medicare program of tens

  of millions of dollars. [Id. at 6]. Bergman was a physician’s assistant at a community

  mental health center, where he was accused of accepting bribes and kickbacks to admit

  Medicare beneficiaries he knew did not qualify for partial hospitalization program

  benefits. [Id. at 6‐7]. Bergman was accused of falsifying patient records in order to make

  it appear as though patients needed, qualified for, and received treatments that they did

  not. [Id.].

                B. Initial Budget Proposal

          Following his appointment, Counsel submitted a proposed litigation budget,

  estimating the case would cost $265,720.00. [ECF No. 57, p. 8]. The budget proposal was


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  based on Counsel’s estimation that he would spend a total of 1252 hours on the case.

  [Id. at p. 5]. Counsel’s initial budget proposal was broken down as follows: 50 hours

  consulting with Bergman at counsel’s office and reviewing relevant material [Id. at p. 4];

  10 hours preparing Bergman to testify at trial [Id.]; 10 hours at motion hearing [Id. at p.

  5]; 80 hours at trial [Id.]; 25 hours interviewing and conferencing with experts,

  investigators and witnesses [Id.]; 1000 hours obtaining and reviewing records [Id.]; and

  75 hours legal research and writing [Id.].

          At a rate of $110 per hour, Counsel estimated fees in the amount of $137,720.00

  (1252 hours x $110) [Id.]. The remaining $128,000.00 included $15,000.00 for an

  Investigator, $45,500.00 for a Medicare Expert, $20,000.00 for a Psychiatrist, $7,500.00 for

  a Jury Consultant, $20,000.00 for a Paralegal, and $65,000.00 in copying costs. [Id. at pp.

  7‐8].

          Counsel submitted the budget ex parte and under seal. [ECF No. 57]. The Motion

  was referred to magistrate Judge Barry Garber [ECF No. 79], who granted it in part,

  finding that Counsel was authorized to bill 1,150 hours at $110 per hour for his associate

  attorney, Melissa Ortiz, while billing the remaining 102 hours at the current CJA rate

  ($126 per hour according to Guidelines, Vol. 7A, Chapter 2, § 230.16(a)), for a total

  amount that was not to exceed $137,720.00 [ECF No. 93. P. 1]. Counsel was approved

  for further expenses as follows: $15,000.00 for an Investigator, $18,000.00 for a Medicare




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  Expert, $7,500.00 for a Psychiatrist, $4,500 for a handwriting expert, and $7,500.00 for a

  Jury Consultant. [Id. at pp. 1‐2].

               C. CJA Voucher Request

            After completing his representation of Bergman, Counsel submitted this CJA

  voucher request. Counsel’s voucher request is significantly less than the initially

  approved budget. Counsel seeks $55,841.85 for his representation, $81,878.15 less than

  the approved budget. Counsel’s voucher claimed 44.3 hours for time spent in court and

  447.7 hours for time spent out‐of‐court, for a total of 492 hours. He also sought $737.85

  in copying expenses.

               D. Voucher Amount – Administrator’s Review

            The Court’s CJA administrator first reviewed the voucher for compliance with

  the Guidelines and mathematical accuracy.        The administrator did not make any

  changes to the number of in‐court hours, out‐of‐court hours, or expenses, verifying

  Counsel spent 44.3 hours in court for a total cost of $5,577.00, 447.7 hours out‐of‐court

  for a total cost of $49,527.00, and spent $737.85 in copying expenses. Thus, the final

  amount of the voucher after the CJA administrator’s review remained $55,841.85.



  III.      ANALYSIS

         A. This Case Was Complex

            In order to recommend that the District Court compensate Counsel in an amount

  that exceeds the statutory maximum, I must first find that this case was either complex

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  or extended. After reviewing the record, there is no doubt that this case was complex.

  The nature of the case, number of defendants, volume of materials, length of the trial,

  and number of docket entries lead the Undersigned to conclude that the cost of fair

  representation exceeds the statutory maximum. In his Order granting in part the

  Authorization Submission of Proposed Fees, Magistrate Judge Garber already

  determined pre‐trial that the case was of a nature that warranted fees that exceeded the

  CJA cap, and while the fees requested came in significantly under budget, there is

  nothing to suggest that the matter was not as complex as predicted.

     B. In‐Court Hours

           Counsel sought compensation for 44.3 in‐court hours. The CJA administrator

  reviewed the request without making changes. Given the length of the trial, I find this

  amount to be reasonable. I recommend Counsel be paid the full $5,577.00 for his in‐

  court hours.

     C. Out‐of‐Court Hours and Expenses

           Counsel sought 447.7 hours for time spent out of court. The CJA administrator

  reviewed this amount without making any changes. Given the complex nature of this

  case, I have no doubt that Counsel spent the amount of time he requests working on

  this case. Accordingly, I find that all of Counsel’s time entries are appropriate. Thus, in

  the absence of other factors, Counsel should receive $49,527.00 for 447.7 out‐of‐court

  hours.



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           Having reviewed Counsel’s request for copying expenses, totaling $737.85, the

  Undersigned finds the request to be reasonable given the document‐heavy nature of

  this case. Thus, Counsel should be compensated $737.85 for “Other Expenses.”

     IV.      CONCLUSION

           For the reasons stated above, the Undersigned respectfully recommends that

  that counsel be paid $55,841.85 as fair and final compensation for his work on this case.

     V.       OBJECTIONS

           In accordance with 28 U.S.C. § 636(b)(1) and Local Magistrate Rule 4(b), the

  parties shall have fourteen (14) days from receipt of this Report and Recommendations

  to serve and file any written objections with the Honorable Jose E. Martinez, United

  States District Judge. Any party may respond to another party’s objections within (7)

  days after being served with the objection. Failure to file timely objections waives a

  party’s right to review issues related to the defendant’s plea under Federal Rule of

  Criminal Procedure 11 before the District Judge or the Court of Appeals (even under a

  plain error standard). See Fed. R. Crim. P. 59(b)(1), (2), cited in United States v. Lewis, 492

  F.3d 1219, 1222 (11th Cir. 2007) (en banc).

           RESPECTFULLY RECOMMENDED, in Chambers, in Miami, Florida, October

  28, 2014.




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  Copies furnished to:
  All Counsel of Record
  Hon. Jose E. Martinez




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